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                        UNITED STATES BANKRUPTCY COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                       :      Chapter 11
                                              :
 East Penn Children’s
 Learning Academy, LLC,                       :      Case No. 20-14646 (PMM)
                                              :
          Debtor.                             :


                      ORDER SUSTAINING OBJECTION TO CLAIM 3

          AND NOW upon consideration of the Debtor’s Objection (doc. #100, the “Objection”) to

 Claim Number 3 filed by Robshe Enterprises, LLC (the “Proof of Claim”) and the Response

 (doc. # 103) and Reply (doc. #105) thereto, as well as the Memoranda in support (doc. #’s 111

 and 116);

          AND for the reasons discussed in the accompanying Memorandum Opinion;

          It is hereby ORDERED that:

          1) The Objection is sustained;

          2) The Proof of Claim is allowed as an unsecured, non-priority claim in the amount of

             $43,725.86.




 Date: December 3 , 2021
                                                     PATRICIA M. MAYER
                                                     U.S. BANKRUPTCY JUDGE
